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                EXHIBIT A
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                                                                                                            787 Seventh Avenue
                                                                                                            New York, NY 10019-6099
                                                                                                            Tel: 212 728 8000
                                                                                                            Fax: 212 728 8111




August 5, 2022

VIA EMAIL
Joe Sibley
CAMARA & SIBLEY LLP
1108 Lavaca St.
Suite 110263
Austin, TX 78701
713-966-6789
Fax: 713-583-1131
Email: sibley@camarasibley.com

Re:    Freeman v. Giuliani, 1:21-cv-21-3354 (BAH)

Dear Mr. Sibley,

        I write regarding the discovery responses provided by Defendant Rudolph W. Giuliani (“Mr.
Giuliani” or “Defendant”) in response to Plaintiffs’ First Set of Requests for Production (the “First Set
of RFPs”) and Plaintiffs’ First Set of Interrogatories (the “First Set of Interrogatories,” collectively, the
“First Set of Discovery Requests”), which Plaintiffs served on May 20, 2022. On June 28, 2022, Mr.
Giuliani served on Plaintiffs responses and objections to the First Set of RFPs (“First RFP R&Os”) and
the First Set of Interrogatories (the “First Interrogatory Responses”), and a privilege log (the “First
Privilege Log”). On July 6, 2022, counsel for Defendant (“You” or “Your”) and counsel for Plaintiffs
participated in a meet and confer regarding the Plaintiffs’ First Set of Discovery Requests and
Defendant’s responses (the “July 6 M&C”). On July 12, 2022, Defendant made his first production (the
“First Production”), and also provided the first set of requests for production that were served on Mr.
Giuliani in US Dominion Inc. v. Herring Networks, Inc., No. 1:21-cv-02130-CJN (D.D.C) (“Dominion”)
and Mr. Giuliani’s responses and objections to the same. On August 1, 2022, Mr. Giuliani served on
Plaintiffs amended responses and objections to the First Set of Interrogatories (the “Amended First
Interrogatory Responses”).

       I write now to memorialize certain deficiencies in the First Interrogatory Responses, First
Production, First RFP R&Os, and First Privilege Log.




                    B RUSSELS   C HICAGO   F RANKFURT       H OUSTON     L ONDON   L OS A NGELES   M ILAN
                        N EW Y ORK   P ALO A LTO   P ARIS    R OME     S AN F RANCISCO   W ASHINGTON
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I.     DEFENDANT’S FIRST INTERROGATORY RESPONSES.

        As discussed during the July 6 M&C, all of Defendant’s First Interrogatory Responses are
incomplete and evasive. See Fed. R. Civ. P. 37(a)(4), (b)(2)(A) (“an evasive or incomplete disclosure,
answer, or response must be treated as a failure to disclose, answer, or respond” and “court . . . may issue
further just orders” including sanctions where a party “fails to obey an order”); Danzy v. IATSE Loc. 22,
No. CV 17-02083 (RCL/RMM), 2020 WL 6887651, at *4 (D.D.C. Nov. 23, 2020) (finding plaintiff’s
interrogatory responses with general descriptions incomplete to the extent they did not provide full
responses to the questions asked and ordering plaintiff to supplement and clarify); Equal Rights Ctr. v.
Post Props., Inc., 246 F.R.D. 29, 33 (D.D.C. 2007) (finding answer that is “inadequate, vague, cryptic,
evasive, and completely lacking in the candid disclosure required of the parties” fails to “completely and
fully address the question asked of it”) (citation omitted).

        Mr. Giuliani represented in the text of the First Interrogatory Responses and via counsel in the
July 6 M&C that he would provide supplemental answers to the First Set of Interrogatories by July 22,
2022. On July 26, attorneys for Plaintiffs followed up with You on the status of Mr. Giuliani’s
amended/supplemental interrogatory responses. You represented that Mr. Giuliani would provide
amended/supplemental interrogatory responses by no later than August 1, 2022. See 7/26/2022 email
from J. Sibley to A. Houghton-Larsen, cc’ing others, RE: Freeman v. Giuliani – Amended
Interrogatories. On August 1, 2022, Mr. Giuliani served on Plaintiffs the Amended First Interrogatory
Responses. Plaintiffs are reviewing the First Amended Interrogatory Responses and reserve all rights to
raise objections, concerns, or challenges in the future. At this time, Plaintiffs note that the First
Amended Interrogatory Responses appear incomplete and deficient.

II.    DEFENDANT’S FIRST PRODUCTION AND RESPONSES & OBJECTIONS TO
       PLAINTIFFS’ FIRST SET OF RFPS.

       A. Defendant’s First Production of Documents on July 12, 2022.

        During the July 6 M&C, You confirmed that Mr. Giuliani would produce all documents that he
had already produced in Dominion, which You explained included all documents produced to the United
States House of Representatives’ Select Committee to Investigate the January 6th Attack on the United
States Capitol (“January 6 Committee”). You represented that this initial production would contain
approximately 7,000 documents. You also claimed that the documents requested by and produced in
Dominion would cover most of Plaintiffs’ First Set of RFPs.

        Plaintiffs received Defendant’s First Production on July 12, 2022. While Plaintiffs are continuing
to review Defendant’s First Production, and reserve all rights to raise questions and concerns in the
future, I write to note a number of deficiencies that we expect Defendant to promptly address.

       First, despite Your representations that Mr. Giuliani’s first production would contain
approximately 7,000 documents, Defendant’s First Production contains only 1,269 documents. Please
explain the discrepancy between the number of documents You indicated Mr. Giuliani would produce
and the number actually produced in the First Production. Please also confirm that Defendant’s First
Production contains all documents produced in Dominion and to the January 6 Committee. Please
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confirm by August 8, 2022 if Mr. Giuliani inadvertently withheld nearly 6,000 documents when
making the First Production or that he has produced only 1,269 in both Dominion and to the
January 6 Committee. If the former, please provide a date certain by which Defendant will
produce the remaining documents.

        Second, we have carefully reviewed the first set of document requests for production served on
Mr. Giuliani in Dominion, and they are not substantively similar to Plaintiffs’ First Set of RFPs such that
Defendant’s reproduction of the documents produced in Dominion would be sufficient to satisfy
Defendant’s discovery obligations in this case. See generally Fed. R. Civ. P. 26(b). For example, none
of the Dominion requests seek information specifically about Plaintiffs or about Mr. Giuliani’s claims
about Georgia or Fulton County—it would be inadvertent and fortuitous if any of the discovery materials
produced in response to the Dominion requests for production were also responsive to Plaintiffs’ First
Set of RFPs. Our initial review of the First Production confirms that there are few, if any, documents
that would be responsive to the First Set of RFPs. To assess whether Mr. Giuliani’s production in
Dominion overlaps with his discovery obligations in this case in any part, please provide by August
12, 2022 a detailed explanation of how Defendant identified the documents produced in Dominion,
including, but not limited to: his collection methodology; the Communications, Documents, and
Social Media (as defined in the First Set of RFPs) collected and searched; the search methodology;
the discovery vendor utilized; the search terms Defendant applied; all of the custodians from which
the materials were produced; and how Defendant came to have access to and produce documents
on which he is not a custodian.

        Third, even if Mr. Giuliani produced all of the documents that were responsive to the Dominion
requests, providing solely those materials would not be sufficient to comply with his discovery
obligations in this case. In order to comply with his discovery obligations here, Defendant must search
the documents and communications within his custody or control for responsiveness to Plaintiffs’ First
Set of RFPs. See Fed. R. Civ. P. 34(a)(1); Fed. R. Civ. P. 37(a)(4) (“incomplete” discovery responses
“must be treated as a failure to disclose, answer, or respond”); English v. Wash. Metro. Area Transit
Auth., 323 F.R.D. 1, 8 (D.D.C. 2017) (same); Finkelstein v. District of Columbia, No. CIV.A. 85-2616,
1987 WL 14976, at *6 (D.D.C. July 22, 1987) (Rule 34 contemplates “the diligent search through all
likely repositories of records”); U.S. Commodity Futures Trading Comm’n v. Trade Exch. Network Ltd.,
61 F.Supp.3d 1, 7 (D.D.C. 2014) (“It is not up to the party from whom documents are requested to pick
and choose how to present relevant information . . . .”). It is our understanding from Your representations
that Mr. Giuliani has not collected, searched, or produced any materials specific to any of Plaintiffs’
First Set of RFPs. If that understanding is incorrect, please tell us so. Either way, please provide a
detailed explanation for how Defendant Giuliani attempted to and/or intends to comply with his
discovery obligations in this case, including but not limited to: the complete list of all of
Defendant’s likely repositories of responsive information, including his devices, email, social
media, and communications accounts; his collection methodology; his search methodology; the
discovery vendor; and search terms by August 12, 2022. To help expedite the process, Plaintiffs
attach the proposed search terms (Ex. A), all of which we will expect Mr. Giuliani to use in
collecting     and      producing      responsive      discovery       unless    we     hear    otherwise.
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       Fourth, Defendant’s First Production was produced with insufficient metadata. See generally
The Sedona Principles, Best Practices, Recommendation & Principles for Addressing Electronic
Document Production, 19 SEDONA CONF. J. 1, cmt. 12 (3d ed. 2018). For 1,203 documents, there is no
custodian metadata. The remaining documents all list “Christina Bobb” as a custodian. Additionally,
1,269 documents have no metadata regarding date or author. Please promptly reproduce Defendant’s
First Production with custodian, author, and date metadata for these documents.

       B. Documents Held by the Special Master.

        During the July 6 M&C, You reiterated that Mr. Giuliani’s electronic devices and various
documents had been seized by the Department of Justice (“DOJ”) and are now being held by a Special
Master. You represented that Mr. Giuliani no longer has access to these documents, the electronic
devices, or online back-ups of these documents and devices (such as Mr. Giuliani’s iCloud account). By
August 12, 2022 please detail in writing the specific devices, email, social media, and
communications accounts, any and all online/cloud-based accounts or back-ups, and any other
materials that the DOJ seized. At the same time, confirm that Mr. Giuliani no longer has direct
access to any of these materials and, if so, please explain why that is the case. If Mr. Giuliani has
direct access to any repositories likely to contain responsive information, including but not limited
to those materials seized, confirm and detail in writing (1) which repositories those are, (2) whether
the contents of those repositories were collected, searched, and/or produced in Defendant’s First
Production and, if not, confirm that Mr. Giuliani will do so consistent with his discovery
obligations in this case. By August 12, 2022 please also explain the origins of the documents in the
First Production, which Mr. Giuliani was able to access despite having had materials seized by the
DOJ.

        During the July 6 M&C, You confirmed that Mr. Giuliani had not yet provided any information
to the Special Master regarding Plaintiffs’ First Set of Discovery Requests or in response to any
discovery requests in Dominion. You also explained that Plaintiffs may provide search terms and date
ranges to the Special Master in order to obtain discovery of those documents for a nominal cost. You
represented that Mr. Giuliani would promptly reach out to the Special Master, copying Plaintiffs’ counsel
and counsel for Plaintiff in Dominion, to begin a coordinated process of getting discovery responsive to
Plaintiffs’ First Set of Discovery Requests. I sent You an email on July 12, 2022 requesting a “date
certain when you will connect us with the Special Master so we may begin this process promptly.” See
7/12/2022 email from A. Houghton-Larsen to J. Sibley, cc’ing others, RE: Freeman v. Giuliani –
Discovery. You did not reply. On August 2, 2022, I sent You another email in which I explained that
Plaintiffs expect You will reach out to the Special Master no later than the end of the week. See
8/02/2022 email from A. Houghton-Larsen to J. Sibley, cc’ing others, RE: Freeman v. Giuliani –
Discovery. As of today’s date, You have neither provided a date certain nor emailed the Special Master
copying Plaintiffs’ counsel to initiate this process. We expect that You will begin this coordination
process with the Special Master no later than August 8, 2022. To help expedite the process, please
provide the attached proposed search terms (Ex. A) to the Special Master.

       Finally, You represented for the first time during the July 6 M&C that Mr. Giuliani has recently
learned that some of the seized material held by the Special Master may have been corrupted or damaged
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during the DOJ’s collection process. Please detail in writing and provide any communications,
including but not limited to any communications from the Special Master, about the potential
corruption of the data seized by the DOJ, such as the extent of such damage and when and how it
occurred. We expect that You will provide ongoing updates regarding potential corruption.

          C. Specific Deficiencies in Mr. Giuliani’s First RFP R&Os.

        Plaintiffs object to Defendant’s First RFP R&Os as deficient. Below, Plaintiffs lodge specific
objections, but reserve all rights to lodge additional concerns and objections in the future. Please
provide amended First RFP R&Os addressing the outlined deficiencies by August 12, 2022.

Documents Previously Produced to the January 6 Special Committee and in Dominion. In his First
RFP R&Os to Requests 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 13, 14, 15, 16, 17, and 18, Mr. Giuliani agrees
only to produce documents “previously produced to the January 6th Special Committee and Dominion”
(subject to his objections). As discussed above, limiting Mr. Giuliani’s productions to documents
previously produced to the January 6 Committee and in Dominion is insufficient to fulfill Mr. Giuliani’s
discovery obligations here. See, e.g., Klayman v. Jud. Watch, Inc., 6 F.4th 1301, 1312 (D.C. Cir. 2021)
(explaining that party’s production of some discovery does not excuse his failure to produce all properly
requested discovery), cert. denied, 142 S. Ct. 2731 (2022). Mr. Giuliani must search the documents and
communications within his custody or control for responsiveness to Plaintiffs’ First Set of RFPs and
produce any documents that are responsive, regardless of whether those documents were previously
produced in other actions.

Request for Production 12.

    REQUEST                                              RESPONSE
    All Agreements, whether formal or informal,          Defendant will produce a joint defense
    between You and OAN executed between                 agreement entered into in the Coomer litigation
    January 1, 2013, and the date of the Requests.       pending in Denver, Colorado.

        In response to Request 12, Mr. Giuliani agreed to produce (and has produced) what he purports
to be a joint defense agreement between him, OAN, and others in connection with Eric Coomer, Ph.D.
v. Donald J. Trump for President, Inc., et al., Case No. 2020-cv-034319, in the District Court for the
City and County of Denver, Colorado. This response is incomplete as Request 12 requests “[a]ll
Agreements, whether formal or informal, between [Mr. Giuliani] and OAN executed between January
1, 2013, and the date of the Requests” (emphasis added).1 If any other agreements exist between Mr.
Giuliani and OAN during the requested time frame, Mr. Giuliani is required to produce them. If no other
agreements exist between Mr. Giuliani and OAN during the requested time frame, Mr. Giuliani must
provide confirmation of such in writing.


1
  In Lamaute v. Power, the court granted a workplace discrimination plaintiff’s motion to compel with respect to
a discovery request requesting all internal reports and statistics on diversity and inclusion. 339 F.R.D. 29, 39
(D.D.C. 2021). The court found defendant’s production of three documents and a partial dataset in response to
this request was inadequate where plaintiff sought all documents. Id.
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Request for Production 19.

    REQUEST                                               RESPONSE
    Documents sufficient to summarize viewer and          Defendant objects to this request as overly broad
    listener metrics for All Your Statements on           and unduly burdensome as it calls for Defendant
    Social Media and your Podcast, Rudy Giuliani’s        to create documents. Subject to and without
    Common Sense, from the date of original               waiving these objections, Defendant does not
    publication through today, including reach,           have summary documents available but will
    count, page visits, posts, shares, time spent,        supplement if and when able regarding the
    impressions, and listener numbers.                    numbers Plaintiffs’ requests.

        Defendant’s response to Request 19 is non-responsive as it contemplates Defendant having to
create summary documents. Request 19 neither asks for nor requires Defendant to make a summary
document. Request 19 asks for “[d]ocuments sufficient to summarize.” Defendant must amend his
response to Request 19 to be responsive to the request made.

Relevance. Plaintiffs note that Defendant does not object to any of the First Set of RFPs on the basis of
relevance. Plaintiffs therefore understand that Mr. Giuliani has conceded the relevance of the First Set
of RFPs.

III.      DEFENDANT’S FIRST PRIVILEGE LOG.

        The First Privilege Log is 49 pages in length and reflects that Defendant Giuliani is withholding
665 documents in their entirety or in part (the “Withheld Documents”) based on attorney-client, work
product, and/or common interest grounds.2 Mr. Giuliani is withholding more than half the amount of
documents that he has produced to Plaintiffs to date. Among the 665 Withheld Documents, Mr. Giuliani
is withholding: 325 based solely on attorney-client privilege;3 141 based solely on work product;4 190


2
  During the July 6 M&C, counsel for Plaintiffs raised a number of general concerns regarding Mr. Giuliani’s
Privilege Log. Counsel for Plaintiffs explained that they would continue to review the First Privilege Log and
follow-up with a formal letter memorializing our questions and concerns. This letter constitutes that formal
response. This letter is not intended to catalogue every possible deficiency and Plaintiffs reserve all rights,
including to raise arguments not discussed herein.
3
  First Privilege Log Entries 1-4, 6-10, 12-15, 17, 19, 21-22, 25-30, 32-33, 35-39, 41-43, 45-52, 54-58, 60-67, 70-
79, 81-82, 84-94, 98-99, 101, 103, 105, 107-109, 112-113, 116-130, 132-133, 135, 138-144, 146-149, 151, 153-
158, 160-166, 168-179, 181, 183-189, 192-198, 200, 203-205, 209-211, 213, 215-218, 220, 222-224, 227-234,
236-241, 243-245, 248-251, 253-256, 258-263, 266, 270-272, 275, 277, 279-284, 287-288, 290-293, 314-315,
328-329, 347, 374, 384-387, 389, 391-393, 395-405, 407-409, 411, 415, 424, 425, 428-430, 433-435, 437, 443,
448-449, 451-452, 454, 458, 464, 467, 471-472, 484, 491, 493, 495, 497, 507, 517, 519, 523, 526, 528, 530, 535,
536, 538, 543, 546, 549, 556, 565-566, 568-569, 573, 575, 577-578, 581, 583-584, 588, 592, 599-600, 602, 609,
613, 619, 642, 644-646, 649-650, 652-654, 658-664.
4
  First Privilege Log Entries 265, 274, 308, 322, 333, 340, 354, 412, 441-442, 444-447, 450, 453, 455-456, 459-
463, 465-466, 468-470, 473-481, 483, 485, 487, 490, 492, 494, 496, 498-506, 508, 509-515, 518, 522, 525, 527,
529, 531-534, 537, 539-542, 544-545, 547-548, 550-555, 557, 560-562, 564, 567, 570-572, 574, 576, 579-580,
582, 585, 589-591, 593-598, 601, 604-608, 610-612, 614-615, 618, 621, 623-624, 626-629, 631-641, 643, 665.
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based on both attorney-client and work product privilege;5 6 based on attorney-client, work product, and
common interest privilege;6 and 3 based on attorney-client and common interest privilege.7

        Where a defendant claims privilege, he “bears the burden to prove the communication or
document is protected.” Banneker Ventures, LLC v. Graham, 253 F.Supp.3d 64, 69 (D.D.C. 2017); see
also Pub. Citizen, Inc. v. U.S. Dep’t of Educ., 388 F.Supp.3d 29, 40 (D.D.C. 2019); Fed. R. Civ. P.
26(b)(5). A defendant must do so by introducing “competent evidence” that satisfies “each of the
essential elements necessary to sustain a claim of privilege.” Pub. Citizen, Inc., 388 F.Supp.3d at 40
(quoting Alexander v. FBI, 192 F.R.D. 42, 45 (D.D.C. 2000)). This evidence must be more than
“conclusory statements, generalized assertions, and unsworn averments of [] counsel.” In re Veiga, 746
F.Supp.2d 27, 34 (D.D.C. 2010). A defendant must offer evidence that establishes the claimed privilege
with “reasonable certainty” and defendant’s failure to do so would permit the court to conclude that his
burden has not been met. FTC v. TRW, Inc., 628 F.2d 207, 213 (D.C. Cir. 1980); see also In re Subpoena
Duces Tecum Issued to Commodity Futures Trading Comm’n, 439 F.3d 740, 750–51 (D.C. Cir. 2006)
(“The basis of a privilege must be adequately established in the record through evidence sufficient to
establish the privilege with reasonable certainty.”) (cleaned up).

        A privilege log must provide sufficient description to permit the opposing party and the Court to
assess why the material is being withheld. See Fed. R. Civ. P. 26(b)(5)(A)(ii) (requiring withholding
party “describe the nature of the documents, communications, or tangible things not produced or
disclosed—and do so in a manner that, without revealing information itself privileged or protected, will
enable other parties to assess the claim”). “From the entry itself the opposing party and ultimately the
judge should be able to tell that the information not being disclosed is properly claimed as privileged.”
Chevron Corp. v. Weinberg Grp., 286 F.R.D. 95, 98 (D.D.C. 2012) (brackets omitted); see also Nat’l
Sec. Couns. v. CIA, 960 F.Supp.2d 101, 193–95 (D.D.C. 2013) (Howell, J.) (finding the CIA’s privilege
descriptions were insufficient for the court to determine that the documents were sent for the purpose of
securing an opinion on law, legal services, or assistance in some legal proceeding).

        The First Privilege Log is deficient in form and substance. Given the breadth of the Withheld
Documents, this letter does not provide document-level comments but instead groups the documents to
articulate categorical issues and illustrative examples. The documents listed below are by no means
exhaustive, and Plaintiffs reserve all rights to challenge Defendant’s privilege claims as to any of the
Withheld Documents. In order for Plaintiffs to be able to assess the propriety of the privilege that
Mr. Giuliani is asserting across a large number of documents, Mr. Giuliani must provide an
updated privilege log that addresses the deficiencies described herein by August 26, 2022.


5
  First Privilege Log Entries 5, 11, 16, 18, 20, 23-24, 31, 34, 40, 44, 53, 59, 68-69, 80, 83, 95-96, 100, 102, 104,
106, 110-111, 114-115, 131, 134, 136, 137, 145, 150, 152, 167, 177, 190-191, 199, 201-202, 206-208, 212, 214,
219, 221, 225-226, 235, 242, 246-247, 264, 267-269, 273, 278, 285-286, 289, 294-307, 309-313, 316-321, 323-
327, 330-332, 334-339, 341-346, 348-353, 355-373, 375-383, 388, 406, 410, 413-414, 416-423, 426-427, 431-
432, 436, 438-440, 457, 482, 486, 488-489, 516, 520-521, 524, 558-559, 563, 586-587, 603, 616-617, 620, 622,
625, 630, 647-648, 651, 655-657.
6
  First Privilege Log Entries 159, 180, 257, 276, 390, 394.
7
  First Privilege Log Entries 97, 182, 252.
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                   A. Form Deficiencies.

Undated Entries. Nearly 200 of the entries in the First Privilege Log fail to provide any date of the
document and, therefore, disclose insufficient information to determine the applicability of any
privilege.8

Lack of Custodian Information. As discussed in connection with the First Production, neither the
metadata nor the First Privilege Log identify the custodians of any of the documents. It does not appear
that Mr. Giuliani is the custodian of, or even a sender or recipient of, more than half of the documents
listed on the First Privilege Log.9

        The issues associated with the lack of custodian are aggravated by the fact that Mr. Giuliani uses
various aliases for his email address. In addition to the email address rudolphgiuliani@icloud.com, the
First Privilege Log also lists “Rudy Giuliani” as the sender and/or recipient of emails to the accounts
“rhelen0528@gmail.com” and “giuliani.andrew@gmail.com.”10 Mr. Giuliani must confirm that he is
the sole recipient of emails at all three email addresses and/or correct any clerical errors in the First
Privilege Log.

        The lack of a custodian also renders incomplete and deficient the entries that list no recipient
(320)11 or no sender (11).12 Without any information as to the custodian, the recipient, or the sender,
Plaintiffs are unable to assess the applicability or validity of any of the claimed privileges.



8
  First Privilege Log Entries 303-304, 309, 322, 332, 379-380, 383, 413, 418, 421, 424, 440-441, 444-456, 458-
464, 466-470, 472-474, 476-480, 482-486, 489-492, 495-517, 519, 521-522, 524-527, 531-538, 540-543, 545-
549, 551-555, 557-558, 560-564, 567, 569-579, 582-585, 587, 589, 591-602, 604-605, 608-609, 612-615, 617-
621, 623-624, 626-629, 631-635, 637-647, 649-657, 659-664.
9
  First Privilege Log Entries 4, 8, 10-11, 14-15, 17, 19-20, 23, 27, 29-31, 37-38, 40, 43-44, 46, 49, 50, 57, 60, 71,
73, 75, 77-79, 81, 85, 89, 94, 97, 103-104, 107-108, 110-112, 114, 117-118, 120, 122, 127, 129, 133-136, 141,
143-144, 146-147, 149, 151-154, 159-160, 163-164, 169, 172-173, 175-176, 181-182, 187-190, 194-195, 200,
204-205, 207-209, 211, 214, 216-218, 220-221, 224, 230, 234-241, 243-244, 247, 249, 251-253, 257, 261-265,
267-268, 270, 271, 274-277, 279-282, 284-287, 290-292, 294-330, 333-336, 338-339, 341-346, 348-349, 351-
353, 355-356, 358-370, 372-377, 379-383, 386-387, 389-390, 392-393, 395, 398-399, 404, 407, 409, 411-424,
426-427, 431-432, 434, 437-438, 440, 443, 454, 459, 462, 482, 488, 516-517, 519, 523-524, 528, 530, 532, 543,
549, 556, 563, 565-566, 573, 575, 603, 606, 613, 625, 640, 643-654, 656-665.
10
   Five entries list Andrew Giuliani’s email address as a recipient of a communication, but list Defendant as the
individual associated with the email address. See First Privilege Log Entries 199, 242, 246, 391, 430. Mr. Giuliani
must confirm and provide evidence demonstrating his use of his son’s email address on the applicable dates and
times and that his son did not have access to this email address during the date of the Withheld Documents. See
Doe 1 v. George Wash. Univ., 480 F.Supp.3d 224, 226 (D.D.C. 2020) (listing one of the factors courts should
consider in assessing privilege waiver as whether “third parties have a right of access to the computer or e-mails”)
(quoting In re Asia Glob. Crossing, Ltd., 322 B.R. 247, 257 (Bankr. S.D.N.Y. 2005)).
11
   First Privilege Log Entries 202, 214, 221, 264, 267-268, 274, 285-286, 294-313, 316-327, 330-346, 348-373,
375-383, 412-414, 417-424, 426-427, 431-432, 438, 440-456, 458-492, 494-519, 521-522, 524-558, 560-567,
569-580, 582-585, 587, 589-602, 604-606, 608-621, 623-624, 626-629, 631-647, 649-665.
12
   First Privilege Log Entries 308, 462, 524, 543, 549, 556, 573, 575, 613, 658, 662.
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Lack of Document Identification. The First Privilege Log does not provide corresponding Bates
numbers of any of the documents, including to identify those documents withheld entirely or which are
produced, but redacted.

Insufficient Privilege Descriptions. The First Privilege Log fails to provide any subject lines and the
information contained in the “Privilege Description” column lacks sufficient description to permit
Plaintiffs to assess why the material is being withheld and whether that withholding is proper. See Fed.
R. Civ. P. 26(b)(5)(A)(ii). For example, various entries merely state the document relates to “legal
advice” relating to “potential voter fraud” without any geographical or litigation reference.13 By way of
another example, another entry claims legal advice “regarding a team call,” which also provides no
information from which Plaintiffs could understand the basis of the asserted privilege.14

Inaccurate Information. There are a number of privilege log entries that are inaccurate on their face.15
For example, Entry 6 purports to withhold a document from Christina Bobb and to Mr. Giuliani, but the
Privilege Description reads “Confidential email communication providing information necessary to
obtain legal advice from Christina Bobb regarding Pennsylvania state litigation and hearings.” Entry
184 suffers from the same error, claiming to be a document from Victoria Toensing and to Katherine
Friess, in order “to obtain legal advice from Victoria Toensing regarding Michigan state litigation and
hearings.”

                                                        ***

        In order for Plaintiffs to assess the propriety of Mr. Giuliani’s privilege assertions, Mr. Giuliani
must provide the dates of the undated Withheld Documents and confirm that he is the custodian of all of
the documents listed on the First Privilege Log and, if so, how he came to possess them without having
sent or received them. If he is not the custodian of certain of the documents, he must identify those
documents, confirm the custodian, describe how he came to possess those documents, and explain why
he has standing to assert privilege over documents for which he was not the custodian.

        Defendant Giuliani must identify which materials have been withheld in full versus redacted in
part, and provide a revised privilege log indicating the Bates numbers for the redacted documents. To
the extent he has withheld documents in their entirety rather than redact the protected portions, he must
produce documents with proper redactions and adjust the privilege log accordingly.

       Defendant Giuliani also must provide sufficient information for Plaintiffs to determine the
propriety of the privileges, and correct any facial inaccuracies.

                   B. Substantive Deficiencies.

                        i.   Attorney-client Privilege


13
   See, e.g., First Privilege Log Entries 14, 73, 127, 141, 154, 204, 248, 284, 391, 425.
14
   See First Privilege Log Entry 221.
15
   See, e.g., First Privilege Log Entries 25, 30, 35, 39, 47, 55, 60, 62, 78, 99, 101, 116, 125, 150, 157, 170, 188.
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        Defendant Giuliani is withholding a total of 524 documents based on attorney-client privilege,16
of which 325 are withheld based solely on attorney-client privilege,17 190 are withheld based on both
attorney-client and work product privilege,18 6 are withheld based on attorney-client, work product, and
common interest privilege,19 and 3 are withheld based on attorney-client and common interest
privilege.20 As the United States Court of Appeals for the District of Columbia Circuit has explained:

                 The [attorney-client] privilege applies only if (1) the asserted holder of the
                 privilege is or sought to become a client; (2) the person to whom the
                 communication was made (a) is a member of the bar of a court or his
                 subordinate and (b) in connection with this communication is acting as a
                 lawyer; (3) the communication relates to a fact of which the attorney was
                 informed (a) by his client (b) without the presence of strangers (c) for the
                 purpose of securing primarily either (i) an opinion on law or (ii) legal
                 services or (iii) assistance in some legal proceeding, and not (d) for the
                 purpose of committing a crime or tort; and (4) the privilege has been (a)
                 claimed and (b) not waived by the client.

In re Sealed Case, 737 F.2d 94, 98–99 (D.C. Cir. 1984) (citation omitted). The First Privilege Log fails
to provide sufficient information for Plaintiffs or the Court to assess any of the required elements to
withhold documents on the basis of attorney-client privilege.

Identification of Client and Attorney. The First Privilege Log neither identifies the “client” (i.e. the
asserted holder of the privilege who “is or sought to become a client”) nor the attorney “to whom the
communication was made.” For example, while various documents include You, which suggests that
the client is Mr. Giuliani, others reference the receipt of legal advice from Mr. Giuliani. Mr. Giuliani

16
   First Privilege Log Entries 1-264, 266-273, 275-307, 309-321, 323-332, 334-353, 355-411, 413-440, 443, 448-
449, 451-452, 454, 457-458, 464, 467, 471-472, 482, 484, 486, 488-489, 491, 493, 495, 497, 507, 516-517, 519-
521, 523-524, 526, 528, 530, 535-536, 538, 543, 546, 549, 556, 558-559, 563, 565-566, 568-569, 573, 575, 577-
578, 581, 583-584, 586-588, 592, 599-600, 602-603, 609, 613, 616-617, 619-620, 622, 625, 630, 642, 644-664.
17
   First Privilege Log Entries 1-4, 6-10, 12-15, 17, 19, 21-22, 25-30, 32-33, 35-39, 41-43, 45-52, 54-58, 60-67,
70-79, 81-82, 84-94, 98-99, 101, 103, 105, 107-109, 112-113, 116-130, 132-133, 135, 138-144, 146-149, 151,
153-158, 160-166, 168-179, 181, 183-189, 192-198, 200, 203-205, 209-211, 213, 215-218, 220, 222-224, 227-
234, 236-241, 243-245, 248-251, 253-256, 258-263, 266, 270-272, 275, 277, 279-284, 287-288, 290-293, 314-
315, 328-329, 347, 374, 384-387, 389, 391-939, 395-405, 407-409, 411, 415, 424-424, 428-430, 433-435, 437,
443, 448-449, 451-452, 454, 458, 464, 467, 471-472, 484, 491, 493, 495, 497, 507, 517, 519, 523, 526, 528, 530,
535, 536, 538, 543, 546, 549, 556, 565-566, 568-569, 573, 575, 577-578, 581, 583-584, 588, 592, 599-600, 602,
609, 613, 619, 642, 644-646, 649-650, 652-654, 658-664.
18
   First Privilege Log Entries 5, 11, 16, 18, 20, 23-24, 31, 34, 40, 44, 53, 59, 68-69, 80, 83, 95-96, 100, 102, 104,
106, 110-111, 114-115, 131, 134, 136, 137, 145, 150, 152, 167, 177, 190-191, 199, 201-202, 206-208, 212, 214,
219, 221, 225-226, 235, 242, 246-247, 264, 267-269, 273, 278, 285-286, 289, 294-307, 309-313, 316-321, 323-
327, 330-332, 334-339, 341-346, 348-353, 355-373, 375-383, 388, 406, 410, 413-414, 416-423, 426-427, 431-
432, 436, 438-440, 457, 482, 486, 488-489, 516, 520-521, 524, 558-559, 563, 586-587, 603, 616-617, 620, 622,
625, 630, 647-648, 651, 655-657.
19
   First Privilege Log Entries 159, 180, 257, 276, 390, 394.
20
   First Privilege Log Entries 97, 182, 252.
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also has claimed that he formerly represented Donald Trump in his personal capacity and, for a more
limited period of time, the Trump Campaign.21 Understanding the identity of the client and the attorney
from whom legal advice is purportedly being sought or given is essential to assessing every element of
attorney-client privilege, including the existence of a relationship and the type of communications that
would be privileged. See In re Sealed Case, 737 F.2d at 98 (attorney-client privilege applies only if “the
asserted holder of the privilege is or sought to become a client”); In re Search of Info. Associated with
Premises Known as Off. of [Redacted] and the Offs. [Redacted], No. MC 20-GJ-35 (BAH), 2020 WL
7042616, at *3 (D.D.C. Dec. 1, 2020) (Howell, J.) (“attorney-client privilege applies only when the
participants in the communication are the client and the client’s attorney”). Mr. Giuliani must
supplement the First Privilege Log to identify the specific client and attorney(s) over whom he is
claiming attorney-client privilege.

Attorney-Client Relationship. The First Privilege Log fails to provide sufficient information to assess
the existence of an attorney-client relationship. Mr. Giuliani, “as the party asserting the existence of an
attorney-client privilege,” bears the “burden to establish that a privileged relationship existed between
himself” as the attorney and Mr. Trump and/or the Trump Campaign (and/or any other client) and the
time period of that representation (or any of the purported attorney-client relationships on which the
privilege is based). In re Grand Jury Investigation, No. 19-15 (BAH), 2019 WL 2179116, at *12 (D.D.C.
Mar. 4, 2019) (Howell, J.). Where Mr. Giuliani claims that he was the client seeking or receiving legal
advice, Mr. Giuliani must similarly establish that an attorney-client relationship existed between him
and the attorneys and the time period of that representation for communications over which he is
claiming attorney-client privilege. Id.

        Mr. Giuliani claims that his representation of Mr. Trump in his personal capacity and the Trump
Campaign both ended by February or March 2021.22 Senior Trump adviser Jason Miller publicly stated
on February 16, 2021 that Mr. Giuliani is “not currently representing President Trump in any legal
matters.”23 But Mr. Giuliani is withholding 110 documents that postdate February 16, 2021 (and which
do not include You as a sender or recipient).24 Mr. Giuliani must provide an explanation of the basis for
the asserted privileges relating to communications when there was neither an attorney-client relationship



21
   Aug. 14, 2021 Dep. of R. Giuliani at 27:10–29:14, Coomer v. Donald J. Trump for President, Inc., et al., No.
2020-cv-034319,       https://lede-admin.coloradosun.com/wp-content/uploads/sites/15/2021/09/Giuliani-depo-in-
Coomer-case.pdf (hereinafter, “Giuliani Coomer Deposition”).
22
   Id. at 37:21–38:14. See also First RFP R&Os Requests 7 and 8 (“Defendant cannot confirm whether or which
documents may or may not have been produced to the GBI by the legal team representing the Trump Campaign”)
(“Defendant cannot confirm whether or which documents may or may not have been produced to the DOJ by the
legal team representing the Trump Campaign”).
23
   Jim Acosta & Paul LeBlanc, Giuliani not currently representing Trump ‘in any legal matters’ adviser says,
CNN (Feb. 16, 2021), https://www.cnn.com/2021/02/16/politics/rudy-giuliani-donald-trump/index.html.
24
   First Privilege Log Entries 1, 4, 11-12, 14-15, 20, 24, 35, 38, 40, 42, 49, 73, 76-77, 79, 82, 89, 93, 97, 99, 101,
103, 107-110, 112-114, 120, 125-127, 129, 132, 138 141, 144, 152, 154, 160, 162, 164, 167, 169, 172-173, 178,
182, 185, 187, 190, 193-195, 202, 204, 209, 212, 217, 219-220, 227-228, 236-239, 241, 244, 251-252, 254, 257,
263, 265, 275, 282, 287-288, 291-292, 324-325, 331, 337, 339, 350, 357, 370-371, 376, 378, 386, 389, 392, 396-
398, 401, 409, 411, 416, 435, 439, 442, 550, 611, 665.
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between Mr. Giuliani and Donald Trump and/or the Trump Campaign nor between You and Mr.
Giuliani.

       Moreover, Mr. Giuliani has testified under oath that he is not always wearing a “legal hat” during
his communications with Mr. Trump because he also provides Mr. Trump with nonlegal political
advice.25 Mr. Giuliani must remove from the privilege log and promptly produce any documents in
which Mr. Giuliani was providing nonlegal advice.

        The majority of the 524 documents over which the First Privilege Log asserts attorney-client (and
in some cases additional privileges) are communications that include individuals whom Defendant
Giuliani has testified comprised Mr. Trump’s personal team of lawyers beginning after the 2020
presidential election: Jenna Ellis, Sidney Powell, Joseph diGenova, Victoria Toensing, Boris Epshteyn,
and Christina Bobb (collectively, “Trump’s Personal Lawyers”). During a recent deposition, Mr.
Giuliani confirmed that Trump’s Personal Lawyers were not also working for the Trump Campaign
during that time and that the lawyers representing Donald Trump in his personal capacity and lawyers
from the Trump Campaign were “two separate groups” of lawyers “that did different things.”26
However, Donald Trump is not on any of the Withheld Documents. Mr. Giuliani must explain the basis
for asserting attorney-client communications for communications among Trump’s Personal Lawyers
when the client is not on the communications, and provide sufficient information to determine whether
the allegedly privileged communications “rested in significant and inseparable part on the client's
confidential disclosure.” In re Sealed Case, 737 F.2d at 99 (citation omitted); Alexander v. FBI, 193
F.R.D. 1, 5 (D.D.C. 2000) (no privilege over communications among counsel where party moving to
protect documents did not demonstrate that the “information withheld pertained to a confidential
communication from the client”); Cobell v. Norton, 226 F.R.D. 67, 88 (D.D.C. 2005) (“Where the
communications at issue were made by attorneys, rather than by clients, those communications are
privileged only if they ‘rest on information obtained from a client’”) (quoting In re Sealed Case, 737
F.2d at 99).

        To the extent that Mr. Giuliani intends to claim some sort of an attorney-client relationship
between Trump’s Personal Lawyers and the Trump Campaign (despite testifying that there was no such
relationship), the majority of the 524 documents—330—do not contain any individual with an email
address indicating that they were agents of the Trump Campaign. On its face, the First Privilege Log
provides no basis for why these 330 documents would qualify as attorney-client privileged, including
any information to determine if the communications “rest on information obtained from a client.”27
Cobell, 226 F.R.D. at 88.

25
   Giuliani Coomer Deposition at 39:2–7.
26
   Id. at 19:24–20:19, 22:2–23:19, 30:7–20. Mr. Giuliani was unsure whether Jenna Ellis had previously served
as counsel to Mr. Trump personally. Id. at 24:13–20.
27
   First Privilege Log Entries 1, 4, 6, 8-9, 11-12, 14-15, 20, 22-24, 28, 35, 38, 40, 42, 44, 49, 51, 56-57, 59, 61,
69, 73, 76-77, 79, 81-82, 84, 87, 89, 93, 97-99, 101, 103-104, 107-114, 116, 120, 125-129, 132, 134, 136, 138,
140-142, 144, 152, 154, 159-160, 162, 164, 167-169, 172-173, 178, 180, 182, 185, 187, 190, 193-195, 202, 204,
208-209, 211-212, 214, 217, 219-221, 224, 227-228, 230, 234, 236-239, 241, 244, 248, 251-252, 254, 257, 261,
263-264, 267-268, 275-276, 279-280, 282, 285-288, 290-292, 294-307, 309-313, 316-321, 323-327, 330-332,
334-339, 341-346, 348-353, 355-373, 375-383, 386, 388-390, 392-399, 401, 404, 409, 411, 413-414, 416-427,
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        As far as the limited number of documents that contain an author or recipient with an email
address with the domain “@donaldtrump.com,” the First Privilege Log fails to provide sufficient
explanation for why the attorney-client privilege would attach, including because of the lack of a
purported attorney-client relationship between Trump’s Personal Lawyers and the lawyers working for
the Trump Campaign. For example, the only individuals with a “donaldtrump.com” domain name on a
number of the documents are Boris Epshteyn and Jenna Ellis, both of whom Mr. Giuliani testified did
not represent the Trump Campaign at the time of the documents.28 And a number of documents are
between an individual with an @donaldtrump.com domain name and other of Trump’s Personal Lawyers
and/or other third parties.29 The First Privilege Log also provides no basis to determine whether the
limited documents from individuals with an @donaldtrump.com domain name were seeking legal advice
or if the responses included protected information. While the First Privilege Log asserts a common
interest privilege (as discussed below), it only does so as to 9 documents30 over which Mr. Giuliani also
claims attorney-client privilege and, therefore, does not resolve how the attorney-client privilege attaches
to communications between Trump’s Personal Lawyers and lawyers representing the Trump Campaign.

Trump’s Personal Lawyers and Political, Not Legal, Advice. Mr. Giuliani must detail “the role and
relationship of various individuals” that comprised Trump’s Personal Lawyers lest Plaintiffs (and the
Court) are left to guess at whether there was any attorney-client relationship, as well as provide a basis
for determining whether Trump’s Personal Lawyers were serving in a legal capacity as opposed to
providing “advice on political, strategic, or policy issues” which would not be shielded from disclosure.
See In re Lindsey, 148 F.3d 1100, 1106 (D.C. Cir. 1998); In re Domestic Airline Travel Antitrust Litig.,
No. MC 15-1404 (CKK), 2020 WL 3496748, at *9 (D.D.C. Feb. 25, 2020), report and recommendation
adopted, No. MC 15-1404 (CKK), 2020 WL 3496448 (D.D.C. May 11, 2020). For example, Defendant
Giuliani has withheld 244 documents sent from or to Ms. Bobb.31 While Plaintiffs understand that Ms.
Bobb is a member of the California bar,32 her email address on the Withheld Communications—
christina@cgbstrategies.com—is affiliated with CGB Strategies, LLC, a public relations firm. Ms. Bobb
also worked as a host for former-Defendant One America News Network (“OAN”) between June 2020

431-432, 435, 438-440, 443, 448-449, 451-452, 454, 457-458, 464, 467, 471-472, 482, 484, 486, 488-489, 491,
495, 497, 507, 516-517, 519-521, 523-524, 526, 528, 530, 535-536, 538, 543, 546, 549, 556, 558-559, 563, 565-
566, 569, 573, 575, 577-578, 581, 583-584, 586-88, 592, 599-600, 602, 609, 613, 616-617, 619-620, 622, 625,
630, 642, 644-664. These exclude the entries that include You as a recipient or sender.
28
   Giuliani Coomer Deposition at 24:4–20
29
   Id. at 22:2–24:20; see, e.g., First Privilege Log Entries 17, 25, 41, 60, 65, 67, 86, 88, 91-92, 99, 105, 115, 117,
119.
30
   First Privilege Log Entries 97, 159, 180, 182, 252, 257, 276, 390, 394.
31
   First Privilege Log Entries 1, 2, 4-6, 8-10, 12-13, 15-19, 20-26, 28-39, 40, 42, 44-45, 48-49, 51, 53, 55-57, 59-
63, 68-69, 71, 75-76, 78-82, 85-91, 93, 95-97, 99-101, 103-104, 106, 109, 111-114, 116-117, 123-126, 132, 134,
136-138, 140, 142-144, 147, 149-152, 155-157, 159, 161-162, 164-165, 167-171, 175-178, 180, 185, 187-189,
191-193, 200, 206-207, 208-209, 211-213, 219-221, 225-226, 227, 228-231, 234, 236, 238, 243, 245, 247-249,
252, 254, 260-262, 267, 269-270, 273, 276, 278-288, 290, 293, 303-305, 309-313, 321, 324-325, 334, 339, 347,
349, 353, 356, 367, 369-370, 376-377, 384-386, 388, 390, 395-402, 404-405, 410, 413-414, 417-421, 424, 427-
429, 433, 437, 439, 519, 530, 568, 644-647, 648-657, 659-661, 663-664.
32
        Christina      Gabrielle        Bobb,      Attorney       Profile,     State      Bar       of     California,
https://apps.calbar.ca.gov/attorney/Licensee/Detail/259430.
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and March 2022. The First Privilege Log does not make clear whether Ms. Bobb was included on the
emails for legal advice, as opposed to for a public relations-related consult. See In re Veiga, 746
F.Supp.2d at 42 (no privilege for documents sent or received by certain individuals on the privilege log
where the Court had no way of knowing “in what capacity [they were] operating or what [their]
relationship was with respect to other participants”); In re Lindsey, 148 F.3d at 1106 (“[C]onsultation
with one admitted to the bar but not in that other person’s role as lawyer is not protected.”) (quoting
Restatement (Third) of the Law Governing Attorneys § 122 cmt. c); In re Sealed Case, 737 F.2d at 99
(noting a lawyer’s advice is only privileged “upon a clear showing that [the lawyer] gave it in a
professional legal capacity”).

Waiver. Even if there were a basis for asserting attorney-client privilege over the 524 documents
withheld on those grounds, Mr. Giuliani must explain why the attorney-client privilege was not waived
by sharing the documents with individuals who did not have a legal relationship with the relevant client,
including sharing the Withheld Documents with more than 60 other third parties listed in the First
Privilege Log (hereinafter, “Third Parties”). The First Privilege Log fails to provide even the most basic
identifying information, including in some cases full names, about the 60+ Third Parties who are listed
as sending or receiving purportedly attorney-client privileged communications:

        1.       TruthandJustice4U@protonmail.com33
        2.       Katherine Friess (kfriess@protonmail.com or kef@husmail.com)34
        3.       Bruce Marks (marks@mslegal.com)35
        4.       Retired judge John Leventhal (judgeleventhal@aidalalaw.com)36
        5.       Retired judge Barry Kamins (judgekamins@aidalalaw.com)37
        6.       Matthew Stroia38
        7.       Andrew Giuliani, the Defendant’s son39
        8.       p@bonfiresearch.org40
        9.       Mark Serrano (serrano@proactivecommunications.com)41

33
   First Giuliani Privilege Log Entries 11, 14, 20, 27, 38, 40, 46, 49, 50, 73, 77, 89, 97, 17-108, 110, 114, 120,
122, 127, 129, 133, 141, 152-154, 160, 163-164, 172-173, 181-182, 187, 189-190, 194-195, 204, 217-218, 220,
224, 237, 239-241, 244, 251-253, 257, 263, 271, 275, 277, 282, 284, 287, 291-292, 386-387, 389, 392-393, 398,
407, 409, 411, 415-416, 434.
34
   First Privilege Log Entries 13, 21, 23, 31, 34, 64, 67, 84, 92, 96, 104, 106, 111, 119, 128, 134, 158, 168, 184,
207, 223, 229, 266, 270, 272, 278, 280, 391, 406, 410, 443, 528, 565-566, 568, 586, 588, 630.
35
   First Privilege Log Entries 7, 43, 135, 186, 256, 259, 385, 408.
36
   First Privilege Log Entries 4, 11, 14, 20, 38, 40, 49, 73, 77, 79, 89, 93, 97, 107-110, 114, 120, 126-127, 129,
141, 152, 154, 160, 162, 164, 172-173, 182, 187, 190, 194-195, 204, 217, 220, 237-239, 241, 244, 251-252, 257,
263, 275, 282, 287, 291-292, 386, 389, 392, 396-398, 409, 411, 416, 482.
37
   First Privilege Log Entries 11, 14, 38, 40, 49, 73, 77, 89, 93, 97, 107-108, 110, 114, 120, 127, 129, 141, 152,
154, 160, 164, 172-173, 182, 187, 190, 194-195, 204, 217, 220, 237, 239, 241, 244, 251-252, 257, 263, 275, 282,
287, 291-292, 386, 389, 392, 398, 409, 411, 416, 440.
38
   First Privilege Log Entries 2, 7, 25, 32, 48, 67, 85-86, 88, 91-92, 155, 171, 179, 184, 186, 192, 223, 229, 256,
266, 293, 385, 391, 402, 408, 430, 437.
39
   First Privilege Log Entries 5, 16, 179, 180, 199, 242, 246, 273, 391, 394, 430.
40
   First Privilege Log Entries 13, 61, 98, 290, 395, 406.
41
   First Privilege Log Entries 13, 406.
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        10.      Williambailey1@protonmail.com42
        11.      Matt DePerno (mdeperno@protonmail.com)43
        12.      Mirna Tarraf (mirnatarraf@hotmail.com)44
        13.      joannamiller6201@protonmail.com45
        14.      prestonhaliburton@gmail.com46
        15.      Mark Foster (mfoster@markfoster.com)47
        16.      Patrick Colbeck (Patrick.Colbeck@protonmail.com)48
        17.      Bernard Kerik49
        18.      Bob Costello (rjc@dhclegal.com)50
        19.      Chip Borman (chipborman@yahoo.com)51
        20.      Tom Sullivan (tsullivan@mslegal.com)52
        21.      Nina Khan (NKhan@msegal.com) or “Nina Khan B”53
        22.      Marc A. Scaringi (march@scaringilaw.com)54
        23.      mgs@taalaw.com55
        24.      Alexander Kolodin56
        25.      Bobby Burchfield57
        26.      Carter Harrison58
        27.      Chaz Nichols59
        28.      Christina Pesce60
        29.      Cleta Mitchell61
        30.      Daniel Cox62
        31.      Dinero, Inc.63

42
   First Privilege Log Entry 13.
43
   First Privilege Log Entries 13, 406.
44
   First Privilege Log Entries 13, 21, 34, 53, 80, 131, 206, 225, 260, 278, 399, 405.
45
   First Privilege Log Entry 13.
46
   First Privilege Log Entries 13, 135, 457, 622.
47
   First Privilege Log Entry 13.
48
   First Privilege Log Entry 13.
49
   First Privilege Log Entries 13, 21, 25, 31, 34, 41, 47-48, 59, 64-65, 67, 86, 88, 91-92, 96, 105-106, 119, 155,
158, 168, 171, 183-184, 192, 206-207, 223, 225, 229, 266, 278, 293, 391, 406, 410, 568, 586.
50
   First Privilege Log Entries 22, 125, 143, 209, 288.
51
   First Privilege Log Entries 41, 43, 135, 216, 360.
52
   First Privilege Log Entry 43.
53
   First Privilege Log Entries 41, 366.
54
   First Privilege Log Entries 43, 52, 255.
55
   First Privilege Log Entries 52, 66, 255.
56
   First Privilege Log Entry 648.
57
   First Privilege Log Entry 516.
58
   First Privilege Log Entries 307, 363.
59
   First Privilege Log Entry 319.
60
   First Privilege Log Entry 665.
61
   First Privilege Log Entries 250, 379, 380.
62
   First Privilege Log Entries 326-327.
63
   First Privilege Log Entry 298.
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        32.      John Eastman64
        33.      Emilie O. Denmark65
        34.      Graziella Pastor66
        35.      Heather Flick67
        36.      “Hilary”68
        37.      Howard Kleinhendler (howard@kleinhendler.com)69
        38.      Jack Wilenchik and JackW70
        39.      James Fitzpatrick71
        40.      Kenneth Chesebro (kenchesebro@msn.com)72
        41.      “Kurt”73
        42.      Linda Brickman74
        43.      “lindak”75
        44.      Mark Caruso76
        45.      “Microsoft Outlook”77
        46.      Mikayla Leef78
        47.      “MS”79
        48.      “Omni Platform”80
        49.      Ray S. Smith, III (rsmith@smithliss.com)81
        50.      Rod Wittstadt (Rod@gwwlegal.com)82
        51.      Ron Coleman83
        52.      Ronald Hicks, Jr.84
        53.      Thor Hearne (thor@truenorthlawgroup.com)85

64
   First Privilege Log Entries 170, 203, 259, 272, 295, 317, 323, 381, 403, 408.
65
   First Privilege Log Entries 84, 128, 361, 368.
66
   First Privilege Log Entry 382.
67
   First Privilege Log Entry 351.
68
   First Privilege Log Entries 341-344.
69
   First Privilege Log Entry 523.
70
   First Privilege Log Entries 264, 268, 296-297, 300, 316, 330, 345-346, 362.
71
   First Privilege Log Entries 302, 355, 408.
72
   First Privilege Log Entries 102, 135, 177, 191, 259, 318, 320.
73
   First Privilege Log Entries 359, 373, 375.
74
   First Privilege Log Entries 214, 299, 306, 348.
75
   First Privilege Log Entry 365.
76
   First Privilege Log Entries 52, 66, 255, 258, 285, 335, 338, 364, 426 (from).
77
   First Privilege Log Entry 279.
78
   First Privilege Log Entries 454, 517.
79
   First Privilege Log Entries 286, 294, 336, 432.
80
   First Privilege Log Entry 412.
81
   First Privilege Log Entries 84, 128, 274, 457, 622.
82
   First Privilege Log Entries 135, 179, 301, 422, 430.
83
   First Privilege Log Entries 372, 423.
84
   First Privilege Log Entry 383.
85
   First Privilege Log Entries 83, 115, 159, 211, 230, 233, 276, 353, 358, 390, 404 436.
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        54.      Steven Davis (sdavis@truenorthlawgroup.com)86
        55.      “Trump Legal Team”87
        56.      Eric Ryan (eric9ryan@gmail.com)88
        57.      Justin Riemer (JRiemer@gop.com)89
        58.      Judge Troupis (judgetroupis@gmail.com)90
        59.      Christianne L. Allen (christianneallen@gmail.com)91
        60.      Larry Weitzner (larry@jamestownassociates.com)92
        61.      jorns@templarbaker.com93
        62.      Harrison Furman94
        63.      George Burnett (GB@lcojlaw)95
Additionally, there are more than 100 documents to or from Maria Ryan
(Maria.Ryan@giulianipartners.com or mariaryan@cottagehospital.org)96 and Jo Ann Zafonte
(JoAnn.Zafonte@giulianipartners.com)97 who ostensibly work for Mr. Giuliani, but the First Privilege
Log fails to explain any agency relationship existing between them.

        Mr. Giuliani must provide information sufficient to identify the Third Parties, as well as explain
in detail their “role and relationship” and the basis for asserting attorney-client privilege over documents
and communications shared with them, especially for those individuals who do not appear to be lawyers.
In re Domestic Airline Travel Antitrust Litig., 2020 WL 3496748, at *9. Even for those individuals who
happen to be lawyers, the privilege does not attach solely because they have a law degree and Mr.
Giuliani must provide sufficient information to determine that they all were operating in their
professional legal capacity and pursuant to an attorney-client relationship. See, e.g., In re Lindsey, 148
F.3d at 1106; In re Sealed Case, 737 F.2d at 99; Alexander v. FBI, 192 F.R.D. at 17; Permian Corp. v.
United States, 665 F.2d 1214, 1219 (D.C. Cir. 1981).

       If Mr. Giuliani intends to stand on his assertions that the communications that include all of the
Third Parties are protected by attorney-client privilege, Mr. Giuliani must explain why he has not waived

86
   First Privilege Log Entry 115.
87
   First Privilege Log Entries 520, 559, 607.
88
   First Privilege Log Entries 81, 112.
89
   First Privilege Log Entry 115.
90
   First Privilege Log Entries 135, 259.
91
   First Privilege Log Entries 148, 245, 250.
92
   First Privilege Log Entry 174.
93
   First Privilege Log Entries 181, 395.
94
   First Privilege Log Entry 523.
95
   First Privilege Log Entry 259.
96
   First Privilege Log Entries 4, 8, 11, 13-15, 20, 27, 35, 38, 40, 46, 49, 50, 57-58, 64, 73-74, 77, 79, 89, 93, 97,
103, 107-109, 110, 112, 114, 116, 120-122, 126-127, 129, 133, 139, 141, 144, 146, 152-154, 160, 162-166, 169-
170, 172-173, 181-182, 187, 189, 190, 194-195, 197, 203-205, 217-218, 220, 224, 231-232, 234-241, 244, 251-
253, 257, 263, 271, 275, 277, 280, 282, 284, 287, 291-292, 372, 386-387, 389, 392-393, 396-397, 398, 403, 407,
409, 411, 415-416, 434, 581.
97
   First Privilege Log Entries 314-315, 328-329, 374, 425, 581, 603, 625.
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the right to assert attorney-client privilege by disclosing the contents to those Third Parties. See Permian
Corp., 665 F.2d at 1219 (“Any voluntary disclosure by the holder of such a privilege is inconsistent with
the confidential relationship and thus waives the privilege.”); United States v. AT&T Co., 642 F.2d 1285,
1299 (D.C. Cir. 1980) (“[T]he mere showing of a voluntary disclosure to a third person will generally
suffice to show waiver of the attorney-client privilege.”); In re Search of Info. Associated with Premises
Known as Off. of [Redacted] and the Offs. [Redacted], 2020 WL 7042616, at *2 (to preserve attorney-
client privilege, “the privilege holder ‘must treat the confidentiality . . . like jewels – if not crown jewels’
and must ‘zealously protect the privileged materials, taking all reasonable steps to prevent their
disclosure’ lest it be waived”) (internal quotations and citations omitted); Nat’l Sec. Couns., 960
F.Supp.2d at 198 (finding public disclosure of portion of document waived attorney-client privilege
protection as to that portion of the document); Elkins v. District of Columbia, 250 F.R.D. 20, 24 (D.D.C.
2008) (“voluntary disclosure of [attorney-client] privileged communications waives the privilege, as
does the inadvertent disclosure of privileged information” and where the “communication is disclosed”
the privilege is “waived for all documents and communications relating to the subject matter of the
disclosure”) (internal citations omitted); Minebea Co., Ltd. v. Papst, 228 F.R.D. 34, 36 (D.D.C. 2005)
(“distributing otherwise privileged letters between counsel and client to third parties necessarily waives
the privilege with respect to the subject matter of the disclosure”).

Potential Exceptions. Reports indicate that a grand jury in Georgia as well as a federal grand jury
convened by the Department of Justice are investigating attempts to interfere in the 2020 election by
Donald Trump and/or his lawyers, including perhaps Mr. Giuliani.98 Plaintiffs reserve the right to
challenge the assertion of privilege based on the crime-fraud exception. See In re Grand Jury
Investigation, No. MC 17-2336 (BAH), 2017 WL 4898143, at *9 (D.D.C. Oct. 2, 2017). Plaintiffs also
reserve the right to challenge the assertion of privilege given the torts alleged in the Amended Complaint.
See In re Sealed Case, 124 F.3d 230, 234 (D.C. Cir. 1997), rev’d on other grounds sub nom Swidler &
Berlin v. U.S., 524 U.S. 399 (1998) (explaining that the crime-fraud exception applies to intentional
torts).

Not A Member of the Bar. The First Privilege log lists 81 communications that postdate Mr. Giuliani’s
suspension from practicing law as attorney-client privileged, consisting of 81 emails sent by Maria Ryan
on September 19, 2021.99 On June 24, 2021, the New York Supreme Court Appellate Division for the
First Judicial Department suspended Mr. Giuliani’s New York law license. In re Giuliani, 197 A.D.3d
1 (2021). On or about July 7, 2021, Mr. Giuliani’s D.C. law license was also suspended. See Affirmation



98
   See, e.g., Kate Brumback, Giuliani ordered to testify in Georgia 2020 election probe, AP News (July 20, 2022),
https://apnews.com/article/2022-midterm-elections-new-york-donald-trump-georgia-presidential-
04b0918bde8c906fb4598220b6ee776a; Tierney Sneed & Evan Perez, Latest moves suggest DOJ investigation of
2020 election is looking at conduct directly related to Trump and his closest allies (July 26, 2022),
https://www.cnn.com/2022/07/26/politics/justice-department-pence-short-jacob-trump-grand-jury/index.html.
99
   First Privilege Log Entries 4, 11, 14, 20, 27, 38, 40, 46, 49-50, 73, 77, 79, 89, 93, 97, 107-108, 110, 114, 120,
122, 127, 129, 133, 141, 146, 152-154, 160, 163-164, 169, 172-173, 181-182, 187, 189-190, 194-195, 204, 205,
217-218, 220, 224, 237-241, 244, 251-253, 257, 263, 265, 271, 275, 277, 282, 284, 287, 291-292, 386-387, 389,
392-393, 398, 407, 409, 411, 415-416, 434.
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¶ 2, In re Giuliani, No. 21 BG 423 (D.C. July 8, 2021).100 On information and belief, Mr. Giuliani is not
a member of any other state bar or state court of last resort. See In re Application for Pro Hac Vice
Admission to Practice in this Court, Donald J. Trump for President, Inc. v. Boockvar, No. 4:20-CV-
02078-MWB (M.D. Pa. Nov. 17, 2020), ECF No. 156 (listing the courts of the State of New York,
United States Supreme Court, U.S. Court of Appeals for the Second Circuit, and the U.S. District Court
for the Southern District of New York). Nor could Giuliani continue to practice law under his federal
bar admissions following the suspension of his New York law license. See S.D.N.Y. Local Rule
1.5(d)(1) (providing for reciprocal suspension upon the entry of an order from any other court or
disciplinary authority suspending the attorney from practice); Second Circuit Local Rule 46.2(c) (same);
Sup. Ct. R. (8) (same). Accordingly, no later than July 7, 2021, Giuliani was no longer “a member of
the bar of a court or his subordinate” such that he may claim attorney-client privilege over
communications in which he was not a client. In re Sealed Case, 737 F.2d at 98–99. For example,
Entries 38 and 409 list September 19, 2021, emails from Maria Ryan to a group of individuals which
purport to consist of “[c]onfidential email communication providing information necessary to obtain
legal advice from Rudolph Giuliani,” the first with respect to “Georgia state litigation and hearings” and
the second with respect to “Pennsylvania state litigation and hearings.” Such entries are not privileged,
to the extent the privilege is asserted on the basis of Mr. Giuliani being a member of a bar.

Sibley Emails. The First Privilege Log lists 26 documents sent from Ms. Ryan or Ms. Zafonte to You
and certain of the Third Parties, most commonly Ms. Bobb, an individual with the email address
TruthandJustice4U@protonmail.com, and former judges Leventhal and Kamins.101 Mr. Giuliani himself
appears on only one of these emails, and as a recipient.102 As detailed above, Mr. Giuliani must explain
the basis of the attorney-client privilege when he, the client, is not present, as well as the role and
relationship of the other Third Parties who are included on the documents.

                       ii.   Work Product

       Defendant Giuliani asserts work product privilege over 337 of the Withheld Documents: 141
documents based solely on work product;103 190 documents based on both attorney-client and work
product privilege;104 and 6 documents based on attorney-client, work product, and common interest
100
    Notice of Motion, In re Giuliani, No. 21 BG 423 (D.C. July 8, 2021),
https://fingfx.thomsonreuters.com/gfx/legaldocs/klvykerygvg/RG-motion.pdf.
101
    First Privilege Log Entries 27, 46, 50, 122, 133, 146, 153, 163, 181, 189, 205, 218, 224, 231, 240, 253, 271,
277, 284, 387, 393, 407, 415, 434, 603, 625.
102
    First Privilege Log Entry 231.
103
    First Privilege Log Entries 265, 274, 308, 322, 333, 340, 354, 412, 441-442, 444-447, 450, 453, 455-456, 459-
463, 465-466, 468-470, 473-481, 483, 485, 487, 490, 492, 494, 496, 498-506, 508, 509-515, 518, 522, 525, 527,
529, 531-534, 537, 539-542, 544-545, 547-548, 550-555, 557, 560-562, 564, 567, 570-572, 574, 576, 579-580,
582, 585, 589-591, 593-598, 601, 604-608, 610-612, 614-615, 618, 621, 623-624, 626-629, 631-641, 643, 665.
104
    First Privilege Log Entries 5, 11, 16, 18, 20, 23-24, 31, 34, 40, 44, 53, 59, 68-69, 80, 83, 95-96, 100, 102, 104,
106, 110-111, 114-115, 131, 134, 136, 137, 145, 150, 152, 167, 177, 190-191, 199, 201-202, 206-208, 212, 214,
219, 221, 225-226, 235, 242, 246-247, 264, 267-269, 273, 278, 285-286, 289, 294-307, 309-313, 316-321, 323-
327, 330-332, 334-339, 341-346, 348-353, 355-373, 375-383, 388, 406, 410, 413-414, 416-423, 426-427, 431-
432, 436, 438-440, 457, 482, 486, 488-489, 516, 520-521, 524, 558-559, 563, 586-587, 603, 616-617, 620, 622,
625, 630, 647-648, 651, 655-657.
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privilege.105 The First Privilege Log fails to provide sufficient information to allow Plaintiffs to
determine whether Defendant’s assertion of work product is proper.

        The work product privilege applies only to “documents and tangible things that are prepared in
anticipation of litigation or for trial by or for another party or its representative (including the other
party’s attorney, consultant, surety, indemnitor, insurer, or agent).” Fed. R. Civ. P. 26(b)(3)(A).106 “The
work product doctrine provides immunity from discovery for written materials that are prepared by a
lawyer in anticipation of litigation.” United States v. Philip Morris Inc., 212 F.R.D. 421, 424 (D.D.C.
2002) (citations and quotations omitted); see also United States ex rel. Barko v. Halliburton Co., 74
F.Supp.3d 183, 191 (D.D.C. 2014) (explaining that work product protection also protects the work
product of a person working on behalf of the attorney). The “work-product rule does not extend to every
written document generated by [anyone who happens to be] an attorney, and it does not shield from
disclosure everything that a lawyer does. Its purpose is more narrow.” Jud. Watch, Inc. v. U.S. Dep’t of
Homeland Sec., 926 F.Supp.2d 121, 142 (D.D.C. 2013) (quoting Jordan v. U.S. Dep’t of Just., 591 F.2d
753, 775 (D.C. Cir. 1978)) (emphasis added). In assessing whether the party asserting privilege has
carried its burden of showing the privilege applies, “the relevant inquiry is whether, in light of the nature
of the document and the factual situation in the particular case, the document can fairly be said to have
been prepared or obtained because of the prospect of litigation.” Id. at 137 (citation and quotations
omitted). The lawyer who created the document must have had “a subjective belief that litigation was a
real possibility,” and that subjective belief must have been “objectively reasonable.” Id. at 137–38. To
meet its burden, the party claiming work product protection must:

                 (1) provide a description of the nature of and contents of the withheld
                 document, (2) identify the document’s author or origin, (3) note the
                 circumstances that surround the document’s creation, and (4) provide some
                 indication of the type of litigation for which the document’s use is at least
                 foreseeable.

Ellis v. U.S. Dep’t of Just., 110 F.Supp.3d 99, 108 (D.D.C. 2015), aff’d, No. 15-5198, 2016 WL 3544816
(D.C. Cir. June 13, 2016) (internal citations omitted). “Disclosing work product to anyone without
common interests in developing legal theories and analyses of documents serves as a waiver of the
protection.” Philip Morris Inc., 212 F.R.D. at 424 (citations omitted). The party asserting the work
product protection bears both the burden of proving that the protection applies and of proving that the
protection has not been waived. Id. The work product privilege is not absolute, and may be overcome
for materials that are “otherwise discoverable” and if the opposing “party shows that it has substantial
need for the materials to prepare its case and cannot, without undue hardship, obtain their substantial
equivalent by other means.” Fed. R. Civ. P. 26(b)(3)(A)(i)-(ii).



105
   First Privilege Log Entries 159, 180, 257, 276, 390, 394.
106
   Courts have recognized that Rule 26(b)(3) is the codification of the common law work-product doctrine with
respect to documents. See, e.g., Yeda Rsch. & Dev. Co., Ltd. v. Abbott GmbH & Co. KG, 292 F.R.D. 97, 105
(D.D.C. 2013) (“The work product doctrine has been developed by courts, including extensively in the D.C.
Circuit, and is also codified in part in the Federal Rules of Civil Procedure. Both standards are set forth here.”).
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Prepared by an Attorney for a Client. The First Privilege Log fails to specify any details about who
the documents were prepared for, which is necessary to assess whether the documents are in fact
protected by the work product protection. “The work-product doctrine relies, in the first instance, on the
existence of an attorney-client relationship.” Banneker Ventures, LLC, 253 F.Supp.3d at 70. The
privilege descriptions are focused singularly on who provided the work product, but do not describe who
the document was prepared for, including whether an attorney-client relationship existed between them.
Additionally, as discussed above, there is no basis for determining the nature of the relationship between
the author and recipient(s) of the documents. There is not even sufficient information to determine
whether all the individuals who are listed as the sender of the alleged work-product documents were the
authors and/or are lawyers or were acting at the direction of lawyers.107 The First Privilege Log provides
no basis to determine the role and relationship among the drafters and recipients of the documents to
assess whether the documents qualify as work product. See, e.g., In re Veiga, 746 F.Supp.2d at 40–42
(explaining that party failed to carry its burden with respect to work product where the privilege log and
accompanying cover letter did not adequately describe who the individuals on the privilege log were and
what their roles and relationships were to one another).

        Even if Mr. Giuliani is able to provide evidence of the relationships between the individuals
creating and receiving the alleged work product, Mr. Giuliani must explain whether the alleged work
produce with created by him (or another member of the alleged common interest agreement) in his role
as an attorney or for him (or another member of the alleged common interest agreement) in his role as a
client. See, e.g., Banneker Ventures, LLC, 253 F.Supp.3d at 70 (explaining that either the lawyer or the
client may assert work product during discovery).

Prepared in Anticipation of Litigation. The First Privilege Log generically states that the documents
over which it asserts work product were created “during the course of litigation” but often fails to specify
the litigation or anticipated litigation for which the material was prepared. Fed. R. Civ. P. 26(b)(3)(A).
“To determine whether a particular document was prepared in anticipation of litigation, this Circuit
applies the because of test, asking whether, in light of the nature of the document and the factual situation
in the particular case, the document can fairly be said to have been prepared or obtained because of the
prospect of litigation.” United States v. Anthem, Inc., No. 1:16-CV-1493 (ABJ), 2016 WL 8461264, at
*7 (D.D.C. Oct. 6, 2016), report and recommendation adopted, No. CV 16-1493 (ABJ), 2016 WL
11164028 (D.D.C. Oct. 14, 2016) (internal quotations and citations omitted). Additionally, “[w]here a
document would have been created ‘in substantially similar form’ regardless of the litigation, work[-]
product protection is not available.” Banneker Ventures, LLC, 253 F.Supp.3d at 72 (citing FTC v.
Boehringer Ingelheim Pharms., Inc., 778 F.3d 142, 149 (D.C. Cir. 2015)).


107
   See, e.g., First Privilege Log Entries 31, 406 (Katherine Friess); 177, 191, 318, 320 (Kenneth Chesebro); 214,
299, 306, 348 (Linda Brickman); 264, 296-297, 300, 330, 316, 345-346, 362 (Jack Wilenchik or “JackW”); 285,
335, 338, 364, 426 (Mark Caruso); 286, 336, 432 (“MS”); 298 (“Dinero, Inc.”); 301, 422 (Rod Wittstadt); 302,
355 (James Fitzpatrick); 307 (Carter Harrison); 308, 462, 524 (no “from”); 319 (Chaz Nichols); 326-327 (Daniel
Cox); 333 (“Microsoft Office User”); 341-344 (“Hillary”); 351 (Heather Flick); 359, 373, 375 (“Kurt”); 360 (Chip
Borman); 361, 366 (Emile O. Denmark); 363 (Carter Harrison); 365 (“lindak”); 366 (“Nina Khan B”); 38
(Graziella Pastor); 383 (Ronald Hicks, Jr.); 412 (“Omni Platform”); 416 (“Maria Ryan”); 423 (Ron Coleman);
431, 438 (Matthew Morgan); 457 (Ray S. Smith III); 603 (Jo Ann Zafonte); 665 (Christina Pesce).
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         The First Privilege Log repeatedly uses generic phrases (e.g., “[c]onfidential memo, prepared
during the course of litigation, providing legal advice”) often with no information regarding the
circumstances surrounding the document’s creation or any indication of the type of litigation anticipated.
These descriptions are insufficient and “simply too cursory for the Court to ensure that it is making an
accurate assessment and not just giving the defendant more deference, beyond the good faith deference
that it is due,” in determining whether the privilege validly applies. Cuban v. SEC, 744 F.Supp.2d 60,
81 (D.D.C. 2010) (“The defendant must submit additional evidence that establishes that all of the
communications were created with litigation in mind.”), on reconsideration in part, 795 F.Supp.2d 43
(D.D.C. 2011); cf. Nat’l Sec. Couns., 960 F.Supp.2d at 200–01 (finding the DOJ did provide sufficient
detail in work product descriptions for the court to make a document-by-document assessment of
whether the privilege was properly asserted). To the extent that any of the documents were prepared for
reasons other than for litigation, the documents are not protected work product. See United States v.
Deloitte LLP, 610 F.3d 129, 138 (D.C. Cir. 2010). Defendant must provide information describing the
circumstances surrounding the documents’ creation and for what anticipated litigations the documents
were prepared and additional information such that the Plaintiffs and the Court can determine whether
these documents would have been produced regardless of whether or not a litigation was anticipated.

“Work Product” of Non-Attorneys. The First Privilege Log asserts work product protection over
numerous documents described as being prepared by non-attorneys in which there is no indication that
the non-attorney was acting at the direction of an attorney.108 See United States ex rel. Barko, 74
F.Supp.3d at 191. Unless Mr. Giuliani can provide evidence that these non-attorneys were acting at the
direction of an attorney in the anticipation of litigation, these documents are improperly withheld.

Other Exceptions. As above, Plaintiffs reserve the right to challenge the assertion of work product
protection based on the crime-fraud exception and based on the torts alleged in the Amended Complaint.
See In re Grand Jury Investigation, 2017 WL 4898143, at *9; In re Sealed Case, 124 F.3d at 234.

Not a Member of the Bar. Similarly, the First Privilege Log asserts work product protection over two
documents that post-date the suspension of Mr. Giuliani’s New York and D.C. law licenses.109 To the
extent these were not prepared for Mr. Giuliani as a client, they are not protected. See supra.

                     iii.   Common Interest

        The First Privilege Log asserts a common interest privilege as to 9 documents.110 The supposed
basis of the 9 documents which Mr. Giuliani withholds on common interest grounds appears to be the
purported joint defense and common interest agreement (“Purported Common Interest Agreement”)
dated April 21, 2020 and signed on various dates by counsel for Mr. Giuliani (undated) and Defending




108
    First Privilege Log Entries 215, 287, 295, 300, 307, 308, 320, 334, 337, 342-345, 349, 352, 360, 361, 362,
364, 369, 374, 376, 413, 433, 666.
109
    First Privilege Log Entries 611, 665.
110
    First Privilege Log Entries 97, 159, 180, 182, 252, 257, 276, 390, 394.
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The Republic (signed April 22, 2021), Sidney Powell (April 21, 2021), Herring News Networks
(including Chanel Rion) (April 21, 2021), and Donald J. Trump for President, Inc. (June 18, 2021).111

No Underlying Privilege. “Because the joint defense privilege operates as an extension of the attorney-
client privilege and work product doctrine, a party who asserts the joint defense privilege must first show
that one of these underlying privileges applies to the documents at issue.” Anthem, Inc., 2016 WL
8461264, at *2. For the reasons discussed above, Defendant has not sufficiently established a basis for
asserting either the attorney-client or work product privilege with respect to the Withheld Documents,
which defeats any claim to a common interest privilege. NLRB v. Jackson Hosp. Corp., 257 F.R.D. 302,
313 (D.D.C. 2009) (ordering in camera inspection of documents withheld under common interest
privilege where “[t]he privilege log generally does not provide a sufficiently detailed description of the
documents . . . to determine whether they are properly withheld as privileged”).

Time Frame. While the Purported Common Interest Agreement is dated April 21, 2020, it was not
signed until a year later. To the extent that “2020” is not a clerical error, Mr. Giuliani must provide a
basis to determine that there was a common interest agreement of which Mr. Giuliani was a part and
identify the individuals or entities who were part of that common interest agreement. See Intex
Recreation Corp. v. Team Worldwide Corp., 471 F.Supp.2d 11, 16 (D.D.C. 2007) (holding that a
common interest agreement must be established either through a “written agreement” or “an oral
agreement whose existence, terms and scope are proved by the party asserting it”). Moreover, because
Mr. Giuliani’s agents who signed the Purported Common Interest Agreement did not date their signature,
Mr. Giuliani must provide the date it was signed in order to assess the propriety of the agreement.

        Five of the Withheld Documents over which the First Privilege Log claims a common interest
are dated November 17, 2020—which predates any of the signatures of the Purported Common Interest
Agreement. Mr. Giuliani must provide a basis to determine that there was a common interest agreement
in existence as of November 17, 2020, since the written agreement was not signed until months after that
date. See Minebea Co., Ltd v. Papst, 228 F.R.D. 13, 17–19 (D.D.C. 2005) (rejecting claim of common
interest privilege for multiple parties as to documents predating parties’ signing of joint defense
agreement where there was “no evidence to show that an understanding was reached prior to the signing
of the Joint Defense Agreement”); Molock v. Whole Foods Market Grp., Inc., No. 16-cv-02483 (APM),
2019 WL 10375614, at *2 (D.D.C. Nov. 1, 2019) (ordering production of document that predated
formation of a common interest agreement).

Signatories. All of the documents withheld pursuant to the common interest privilege include
individuals who did not sign the Purported Common Interest Agreement.112 Mr. Giuliani must explain

111
    Plaintiffs reserve all rights relating to the Purported Common Interest Agreement, including without limitation
objections to its authenticity, scope, relevance, and applicability. The document appears to be dated more than a
year before effectuated, is only signed by a handful of proposed signatories, and does not appear to be a single
document, as evidenced by pages that are duplicate in their entirety or duplicate preceding paragraphs.
112
    First Privilege Log Entries 159, 276, 390 (Christina Bobb to Thurd@truenorthlawgroup.com); 180, 394 (emails
among Christina Bobb, non-signatories Andrew Giuliani, Jenna Ellis, jorns@templarbaker); 97, 182, 252, 257
(emails from Maria Ryan to Christina Bobb, TruthandJustice4U@protonmail.com, and former judges Leventhal
and Kamins); 182, 257 (referencing advice from Cleta Mitchell).
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why communications from or to those individuals are subject to the Purported Common Interest
Agreement. For example, Christina Bobb is the author of 4 of the withheld documents even though she
is not a signatory to the Purported Common Interest Agreement, and neither is Mr. Trump in his
individual capacity (who was Ms. Bobb’s purported client, as discussed above). See Minebea Co., 228
F.R.D. at 18 (ordering production of documents where party “[n]ever signed or otherwise indicated that
it was entering into a joint defense agreement”).

Substantive Elements of Privilege. Even accepting arguendo that attorney-client or work product
privilege were established (which they are not), where Defendant asserts the common interest privilege,
he has the burden of demonstrating “that (1) the communications were made in the course of a joint
defense effort, (2) the statements were designed to further the effort, and (3) the privilege has not been
waived.” Intex Recreation Corp., 471 F.Supp.2d at 16 (quoting Minebea Co., 228 F.R.D. at 16); see
also Jackson Hosp. Corp., 257 F.R.D. at 312. To be properly withheld pursuant to the common interest
privilege, the Withheld Documents must be “part of an on-going and joint effort to set up a common
defense strategy in connection with actual or prospective litigation.” Intex Recreation Corp., 471
F.Supp.2d at 16 (quotations omitted); see also Anthem, Inc., 2016 WL 8461264, at *10 (“Common sense
suggests that there can be no joint defense agreements when there is no joint defense to pursue.”)
(quoting In re Grand Jury Subpoena, 274 F.3d 563, 575 (1st Cir. 2001)); see also Jackson Hosp. Corp.,
257 F.R.D. at 312 (“[I]n any event the parties must have a common interest in the prosecution of a
common defendant.”). Even if Mr. Giuliani can establish that a common interest or joint defense existed,
he “still must demonstrate that the specific communications at issue were designed to facilitate a
common legal interest.” Minebea Co., 228 F.R.D. at 16 (emphasis added); see also Intex Recreation
Corp., 471 F.Supp.2d at 16. Communications concerning business, commercial, political, strategic, or
policy interests are insufficient to uphold a claim of common interest even if there exists a common legal
interests between parties. Minebea Co., 228 F.R.D. at 16; In re Lindsey, 158 F.3d 1263, 1270 (D.D.C.
1998) (holding that attorney’s “advice on political, strategic, or policy issues . . . would not be shielded
from disclosure by the attorney-client privilege”).

        In some of the descriptions of documents withheld as protected by a common interest, the First
Privilege Log fails to identify any actual or anticipated litigation.113 For all of the common interest
documents, there is an insufficient basis to determine whether the Withheld Documents related to a joint
defense effort or a common legal interest. Further to the point, Mr. Giuliani has testified that he often
gave “political advice” while serving as counsel to the Trump Campaign and Donald J. Trump. Rudolph
W. Giuliani Deposition Transcript at 39:2–7, Coomer v. Donald J. Trump for President Inc., et al., 2020-
cv-034319 (Colo. Den. Cty. 2020). Given the insufficient descriptions in the First Privilege Log, there
is no way to know whether documents withheld under the common interest privilege (or for that matter
the attorney-client and work product privileges) actually pertain to a common legal interest or rather are
improperly withheld political advice. See In re Lindsey, 158 F.3d at 1270.

Waiver. As set forth above, Defendant may have waived any claimed common interest privilege by
including Third Parties that break the underlying privileges.114
113
   First Privilege Log Entries 159, 180, 276, 390, 394.
114
   See, e.g., First Privilege Log Entries 180, 394 (including Giuliani’s son); 97, 182, 252, 257 (including
unidentified third-party “TruthandJustice4U”).
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       Plaintiffs reserve all rights to supplement this deficiency letter and to challenge Defendant’s First
RFP R&Os, First Interrogatory Responses, First Amended Interrogatory Responses, and First Privilege
Log, including any requests, interrogatories, or privilege log entries not explicitly mentioned here, up to
and including seeking appropriate relief from the Court.


Sincerely,

/s/ M. Annie Houghton-Larsen
M. Annie Houghton-Larsen
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             Exhibit A to Plaintiffs' Deficiency Letter dated August 5, 2022


Ruby OR Freeman OR "purple shirt"
Shaye OR Shay OR Wandrea OR ArShaye OR Moss
(Ruby /10 shirt) OR (lady /10 purple) OR (women /10 yellow) OR (braids /10 blond!)
“Fulton" OR "State Farm"
(work! OR volun! OR offic! OR count! OR facil!) AND (Georgia OR GA OR Fulton OR
Atlanta)
(Stole! OR steal! OR fraud! OR crim! OR investig! OR fals! OR illeg! OR commit! OR arrest!
OR jail! OR theft OR thief!) AND (elect! OR vot! OR ballot! OR count! OR Jan! 6" OR "6th"
OR 2020 OR Trump)
(suitcase OR scan! OR ballot! OR flash! OR drive! OR stuff! OR hard-drive!) AND (Georgia
OR GA OR Atlanta OR stol! OR fraud! OR ballot! OR illeg!)
(count! /20 machine) AND (GA OR Georgia OR Atlanta OR Fulton)
"water leak!" OR "watermain" OR "water main" OR "pipe burst!"
(kick! OR exclu! OR out! OR throw!) AND (observer! OR pretens!)
(phony OR scurry OR heist OR cheat! OR crook! OR crew OR illeg! OR steal! OR stol! OR
blanket OR scam! OR hustl! OR stuff! OR proof OR Dominion ) AND (GA OR Georgia OR
Elect! OR 2020 OR Fulton OR Atlanta)
(rudolphgiuliani OR rhelen0528 OR giulianipartners) AND (Georgia OR GA OR Atlanta OR
Fulton)
(Communi! OR Strateg! OR Outreach! OR Messag!) AND (Plan! Or Commun!) AND (Trump
OR Elect! OR Fraud! OR Georgia)
(BK OR KF OR SB OR BE OR "Serrano Public Relations Team" OR CR OR SP OR TF OR
PW OR Navarro OR Bernard OR Kerik OR Katherine OR Friess OR Steve OR Bannon OR
Boris OR Epshteyn OR Epstein OR Mark OR Serrano OR Sidney OR Powell OR Chanel OR
Rion OR Phil OR Waldron) AND (Plan! OR Commuic! OR Strateg!)
(Carter OR Jones OR "Seven Hills") AND (Georgia OR GA OR invest! OR elect! OR vot!
OR stole! OR steal! OR fraud! OR crim! OR Trump)
(Georgia OR GA OR Atlanta OR Fulton) AND (audit! OR "secretary of state" OR manual!
OR count! OR ballot! OR re-count! OR invest! OR elect! OR vot! OR stole! OR steal! OR
fraud! OR crim! OR Trump OR multiple OR affidav! OR Brad! OR Gab! OR Germany OR
Ryan OR video OR evid!)
Sterling OR Gabriel OR Raffensperger OR Brad OR Watson OR Kemp OR Fuchs OR Barron
OR Braum OR Callaway OR Jones
(GBI or Bureau or DOJ or "Department of Justice" OR FBI) AND (invest! OR elect! OR vot!
OR stole! OR steal! OR fraud! OR crim! OR Trump)
("fact check" OR "fact checks" OR "fact checked" OR Politifact OR "pants on fire" OR "lead
stories" OR debunk! OR dispel! OR dispelled) AND (Georgia OR GA OR Fulton OR Atlanta)
("Attorney General" OR AG OR Barr OR "One Damn Thing") AND (fraud! OR FBI OR
"Georgia Bureau" OR video OR count! OR Georgia OR Fulton OR Atlanta)
("Common Sense" OR "Uncovering the Truth" OR "War Room" OR Twitter OR Rumble)
AND (metrics OR reach! OR count! OR view! OR impress! OR visit! OR unique OR shar!
OR time! OR listen! OR number! OR rating! OR subscrib!)
"Dec! 3" AND (hear! OR senate OR video OR tape)
"joint defense" OR JDA OR "common interest"
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"Willard" AND (war OR Trump OR elect! OR presid!)
Ellipse AND (Trump OR Elect! OR "Jan 6" OR "Jan. 6" OR "January 6")
(engage! OR retent!) /10 (letter! OR agreement!)
(Jackie OR Deason OR Pick) AND (Georgia OR GA OR invest! OR elect! OR vot! OR stole!
OR steal! OR fraud! OR crim! OR Trump)
(Jenna OR Ellis) AND (Georgia OR GA OR invest! OR elect! OR vot! OR stole! OR steal!
OR fraud! OR crim! OR Trump)
(OAN OR Herring! OR "One America" OR Rion OR Chanel OR Bobb OR Christina OR
Stephanie OR Hamill OR Natalie OR HARP OR) AND (Georgia! OR GA OR Atlanta OR
Fulton OR invest! OR elect! OR vot! OR stole! OR steal! OR fraud! OR crim! OR Trump OR
agree!)
("The Gateway Pundit" OR "TGP") AND (GA OR Georgia OR Fulton OR Atlanta)
Sidney OR Powell AND (invest! OR elect! OR vot! OR stole! OR steal! OR fraud! OR crim!
OR Trump)
Solomon AND (elect! OR fraud! OR invest! OR "security camera" OR blanket OR suspic! OR
FBI OR GBI OR Russia!)
(Select! OR "January 6" OR "Jan 6" OR "Jan 6th") AND Commit!
